Case 1:20-cr-O0605-KMW Document 22

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ee se cs ss a ee ee ew ee ee x
UNITED STATES OF AMERICA
-against
HOWARD ADELGLASS,
Defendant.
ee ee xX

KIMBA M. WOOD, District Judge:

Filed 01/11/21 Page1of1

 

 

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ORDER
20 CR 605 (KMW)

The Court has received defense counsel’s January 6, 2021 letter, requesting to be relieved

as counsel,

The Court grants the request, and hereby appoints CJA attorney on duty today, Irving

Cohen, to represent the defendant.
SO ORDERED.

Dated: New York, New York
January 11, 2021

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KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE
